Case 2:10-cv-08888-CJB-JCW Document 85345 Filed 04/20/11 Page 1 of 3
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.* Case actin 179 JB-SS Document.983-3 Filed 01/12/11 Page 1 of 3
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2 : OIL SPILL by “Deepwater Horizon”
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fy gisaes BY Order of the Court, Civil Action No, 10 md 2178 Rec. Doc, 982
(Copies-of s der having also bean filed in Civi) Actions No. 10-9888 and 10-2771)

er

By submit document, | am asserting a claim in Complaint and Petidon of Triton Asset Leasing GmbH, ot
al, No, 10-2771; adopt and Incorporate the Master Answer [Rec. Goc. 244] to the Complaint and Patition of Triten
Assot Leasing Gmbh, et ai., in No. 10-2774; and/or Intervene Into, join and otherwise adopt the Master Complaint
[Rec. Doc, 879} for private economic lqases ("B1 Bundie”) fited in MOL No. 2478 (10 md 2179); andor Intervens
Into, Jain and otherwise adopt the Master Complaint (Rec, Doc. 861] for post-explosion Injuries ("BS Bundla”)
filed in MOL No, 2179 (10 ma 2179).

“Seavd aN eA mine_+— Name/Maiden

Pree Box 1041. LEI .

Addras'

Last 4 digits of your Tax ID Number

A ™ Mediadocs 6A.
“EOS 1Kow o piter, Flacids S31s2

“Mail Address

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maim fod wkh BP? ves O No C1 Claim Fled win GoCF?: YES [) no

tl yes. BP Claim No.: if yas, Giakrant Identification No.

Type (Plense check a6 that apply):

Damage or deatruction to real er pargonal proparty Foar of Future injury anc/or Medicat Monitoring
Eaminga/Prott Loss Lose of Subsistence use of Natural Resources
Personal injury/Death Removal and/or clean-up Coss

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‘This form should be files with the U.S. District Court for the Eastern District of Loulsiana in New Orleans, Loulslana in Gvil Action Ne. 40-2886. While this Direct
Filing Shari Farm |s to be flied In GA No, 0+B9B8, by prior order of tha Court, {Ree. Roe. 246, C.A. No, 10-2773 and Rec. DOC, $82 1 MOL 2179), the filing of this form
In CA, No. 10-8888 shat he deemed to be simultaneously filed In C.A, 20-2771 and MDL 2179, Plaintiff Lsisen Counsel, after baing notified electronically by the Gerke
of Court of the fillng of this Short Form, shail promptly carva this farm through tha tenis Nexts gervics system on Defense Lialann.

The filing of this Direct Fling Short Form ahall also serve in iieu of the requirement of a Plaindit to fie a Plaintiff Profile Form.
Case 2:10-cv-08888-CJB-JCW Document 85345 Filed 04/20/11 Page 2 of 3

. > Case 2:10-md-02179-CJB-SS Document 983-3 Filed 01/12/11 Page 2 of 3

‘Brief Description:

4. For samings/profit ass, property damage and loss of subsistence use ctaims, describe the nature of the injury. For claime
involving real estate/property, include the property location, type of praperty {residentiavcommercia’), and whether physical
damage occurred. Fer claims relating to fishing of any type, Include the tyne and location of fishing grounde at isaua.

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a. For postaxplosion claims retated to rme-up lor rambval, Include your role In the cfeineup ctivities, the name of your

employer. and where you were working. .
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Please check the box(es) below that you think apply to you and your claims:
aHAVvG A al E 9 a 3 dP Fi a A SUuNngié 4

Commercial fisherman, shrimpar, crabber, or oysterman, of tha owner and operator of a business involving fighing, shrimping,
crabbing of oystering,

Santood processor, distributor, retall and seafood mart, or restaurant owner and operater, or an employee thereot.

Recreational business owner, operator or worker, including a recreational fishing business, commercial guide service, of charler
fishing business wha eam their living through the use of tha Gulf of Mexico.

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Ke Commercial business, business cwner, operator or worker, Incuding commercial divers, offshore olifiakl services, repair and
supply, raal estate agents, and supply companies, of an gnpioyer thereof,

uM. Recreational apart fishermen, recreakonal diver, beachgeer, of recreations! boater.
es Plant and dock worker, including commercial seafood plant Worker, langshoreman. oF ferry operator.
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Owner, lanvor, or fesoee of real property alleged lo be damaged, harmed or impacted, physically of economically, including
lagraes of oyster beds,

Ke Hotel owner and operator, vacation rental owner and agent, or ef thase who earn mals living trom the touriam industry,
xe, Bank, finanetel Institution, or retell business that suffered onses ac « result af the epll,
Wi. Person who vilizes natural resources for: cubsictence.

Lf

Kn. Other, in of aro who UAleZc) Ware) Kesave “ee Foc
‘ a ve Acuwinea loi td: wills And morine. \i / “*
Post-Explosion Persona u Medical Monitonng, ang Frope Damage Related p> Cleanup (6
Boat captain or crew involved in tha Vesenis of Opportunity program.
Worker involved in décontaminating vassals thal cama into contact wilh ofl and/or chemical dispersants.

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2. Vessol captain of crew who was nol Involved in the Vessais of Opportunity program but who ware exposed to harmful chemieais,
odors and emissions during post-explosién clean-up activities.

We. Clean-up workor or beach personnel Involved in clean-up nctiviian along shorelines and Intercoastal and intertWal zones.

tes. Resident who lives or works In cloze proximity to coaster waters.
-Keside » \iwts, wiork

KS Meech fam
Claimant ot

‘| 14, 20U

Date

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